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                             UNITED STATES DISTRICT COURT

                                  DISTRICT OF OREGON



KELSEY CASCADIA ROSE JULIANA;                 Case No.: 6:15-cv-01517-TC
XIUHTEZCATL TONATIUH M., through his
Guardian Tamara Roske-Martinez; et al.
                                              NOTICE OF SUPPLEMENTAL
               Plaintiffs,                    DISPUTED FACTS RAISED BY
                                              DEFENDANTS’ EXPERT REPORTS IN
v.                                            SUPPORT OF PLAINTIFFS’
                                              RESPONSE IN OPPOSITION TO
The UNITED STATES OF AMERICA;                 DEFENDANTS’ MOTION FOR
DONALD TRUMP, in his official capacity as     SUMMARY JUDGMENT
President of the United States; et al.,

              Defendants.




 NOTICE OF SUPPLEMENTAL DISPUTED FACTS RAISED BY DEFENDANTS’
 EXPERT REPORTS IN SUPPORT OF PLAINTIFFS’ RESPONSE IN OPPOSITION TO
 DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
       Plaintiffs respectfully submit this Notice of Supplemental Disputed Facts Raised by

Defendants’ Experts in Support of Plaintiffs’ Response in Opposition to Defendants’ Motion for

Summary Judgment. ECF No. 255. Each of the supplemental disputed facts identified below

come from Defendants’ expert reports, which were served on Plaintiffs on August 13, 2018, after

the close of briefing on Defendants’ Motion for Summary Judgment and are attached hereto as

Exhibits 1-8. Dr. Sugar’s Expert Report is filed subject to the Protective Order. The facts below

do not represent all of the facts within Defendants’ expert reports that Plaintiffs contest, but are

illustrative. By providing this supplemental information to the Court, Plaintiffs in no way waive

their rights to contest the admissibility of Defendants’ expert reports or expert testimony prior to

and during trial.



        Supplemental Statement of Disputed Facts from Defendants’ Expert Reports

Defendants Dispute That Plaintiffs Have Article III Standing (ECF No. 255 at 3-28)

       Defendants Dispute Plaintiffs’ Evidence Of Their Concrete, Particularized, Actual Harms
       (ECF No. 255 at 4-11).

1.     “As a threshold matter, a medical professional would not simply rely on a complaint or a

declaration filed in a lawsuit to establish asthma and/or allergy symptoms.” Expert Report of Dr.

Norman I. Klein, MD at 3.

2.     “Dr. Van Susteren’s methods fall below reasonable standards of practice, and thus, her

report and opinions therein are not valid to a reasonable degree of medical certainty.” Expert

Report of Dr. Jeffrey Sugar, MD at 5.

3.     “While a substantial body of literature referred to by the Plaintiffs’ experts (in addition to

others that I have reviewed) have demonstrated an increased association of risk of various health

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effects, including neurological and psychological impacts, with climate change, these studies do

not independently establish that the Plaintiffs’ specific health effects are primarily caused by

climate change and its possible repercussions.” Expert Report of Dr. Arthur Partikian at 3.

4.     “In her report [Dr. Van Susteren] describes an array of psychiatric and medical

consequences of climate change, but she never directly links any of these dire consequences . . .

to any individual plaintiffs. They remain theoretical possibilities, reported in various studies of

natural disasters, but not conclusively identified in any of the Plaintiffs she examined.” Expert

Report of Dr. Jeffrey Sugar, MD at 17.

       Defendants Dispute Plaintiffs’ Injuries Are Fairly Traceable To Defendants’ Misconduct
       (ECF No. 255 at 11-23).
       Defendants Dispute The Federal Government Has Put Plaintiffs In A Position Of Danger
       In Violation Of The Fifth Amendment (ECF No. 255 at 46-49).

5.     “Even if the individual Plaintiffs’ complaints of allergy and asthma symptoms were

credited, an examination of other potential contributing factors must be evaluated before climate

change could be determined as a contributing, much less primarily contributing, factor to these

specific Plaintiffs.” Expert Report of Dr. Norman I. Klein, MD at 3.

6.     “Similarly, other respiratory allergies also have contributing factors that do not concern

climate change.” Expert Report of Dr. Norman I. Klein, MD at 4.

7.     “The reports of Plaintiffs’ experts Dr. Trenberth and Prof. Running do not and cannot

reliably tie global climate change due to the Defendants’ conduct at issue to the claimed injuries

they allege affected Plaintiffs where they live, work, or recreate.” Expert Report of Dr. John P.

Weyant at 4.




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8.     “By failing to analyze the potential confounding effect of local conditions, Dr. Trenberth

reaches conclusions about the impacts on Plaintiffs that are unsupported and therefore

unreliable.” Expert Report of Dr. John P. Weyant at 10.

9.     “Overall, Dr. Trenberth’s conclusions are not supported by analysis that allows one to

determine how and to what degree Jaime’s experiences with water shortages, wildfires, droughts,

or heat waves are exacerbated by human-induced climate change.” Expert Report of Dr. John P.

Weyant at 11.

10.     “The Oregon Department of Forestry chart undermines Dr. Trenberth’s assertions that

2015 was extraordinary and that the wildfire season has become longer and more intense due to

human-induced climate change.” Expert Report of Dr. John P. Weyant at 14.

11.    “When Prof. Running makes claims about injuries to Plaintiffs, he simply presumes that

human-induced climate change is the major cause of the multiple hydrological and ecological

changes that he discusses, despite the fact that population growth and migration, forest and water

management practices, and wildfire and flood prevention measures are also important

determinants of the climate events he analyzed.” Expert Report of Dr. John P. Weyant at 15.

12.    “Complicated interactions are emblematic of the confounding factors that scientists need

to consider when examining the influence of climate change. It is the part of the reason why

Prof. Running’s statement that an increased wildfire season due to climate change has and will

affect many of the Plaintiffs is an overbroad assertion.” Expert Report of Dr. John P. Weyant at

18.

13.     “Other sources of GHG emissions dwarf emissions from fossil fuels in the United

States.” Expert Report of Dr. John P. Weyant at 18.



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14.    “I estimate that CO2 emissions caused by all of the conduct at issue, including emissions

allegedly caused directly by Defendants, emissions allegedly caused by Defendants’ affirmative

policy acts, and emissions allegedly caused by Defendants’ alleged failure to act, comprise no

more than 4% of global emissions.” Expert Report of Dr. James L. Sweeney at 60.

15.    “At least 96% of global emissions were caused by (i) countries other than the U.S., or (ii)

fossil fuel consumption by entities other than the federal government that would have occurred

absent Defendants’ conduct at issue.” Expert Report of Dr. James L. Sweeney at 60.

16.    “[E]missions caused by Defendants’ affirmative policy acts (e.g., subsidies) were small

as well.” Expert Report of Dr. James L. Sweeney at 63.

17.    “Plaintiffs and their experts offer no analysis to link the failure to develop policies to the

impacts on GHG emissions.” Expert Report of Dr. James L. Sweeney at 66.

18.    “Simple economic analysis suggests that in the rest of the world, fossil fuel consumption

and CO2 emissions would have increased by a small amount in response to the U.S.’s

hypothetical conduct of eliminating CO2 emissions.” Expert Report of Dr. James L. Sweeney at

68.

19.    “Erickson selectively targeted data and tailored his methods to inflate the beneficial

impacts of subsidy reform on fossil fuel consumption and associated emissions reductions.”

Expert Report of David G. Victor at 4.

20.    “The effect of oil subsidy reforms on emissions will be small to zero.” Expert Report of

David G. Victor at 4.

21.    “The studies that Erickson cites in support of his analysis of the impacts of subsidies on

oil production do not substantiate his claims.” Expert Report of David G. Victor at 4.



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22.    “With respect to the impacts of federal coal leasing policies, I again find that Erickson’s

conclusions are not supported by the breadth of nuanced research on this topic.” Expert Report

of David G. Victor at 4.

23.    “Stiglitz fails to identify plausible, real-world actions that the U.S. government could

have taken that would have led to appreciably different outcomes with respect to domestic and

international energy systems.” Expert Report of David G. Victor at 5.

24.    “Erickson creates the impression that emissions control policies should pinpoint only

energy-related combustion of fossil fuels and niche industrial activities, such as production of

cement.” Expert Report of David G. Victor at 6.

25.    “Erickson fails to articulate the fact that overall U.S. emissions contributions have been

declining since 2005.” Expert Report of David G. Victor at 8.

26.    “Even if the U.S. eliminates all of its territorial 272 GHG emissions, and by extension all

of its CO2 emissions, a substantial share (88%) of total global GHG emissions would remain.”

Expert Report of David G. Victor at 10.

27.    “US oil and gas producers extract commodities worth $245b per year. The subsidy

embodied in the output is only about 1.9% of the total market value of production. In my view,

subsidies worth that tiny fraction of the total value are not material to an industry whose prices

can swing many multiples of this percentage in a financial quarter.” Expert Report of David G.

Victor at 12.

28.    “I believe that the dependence on fossil fuels which existed prior to oil crises of the

1970s, and which exists today, is the ‘inevitable consequence of history.’” Expert Report of

David G. Victor at 30.



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29.    “Stiglitz misrepresents the magnitude and breadth of the Federal government’s

contributions to R&D.” Expert Report of David G. Victor at 30.

30.    “In the late 1970s, there was little experience with renewables technology, and what

experience did exist suggests such technologies would be substantially more costly than existing

commercial rivals.” Expert Report of David G. Victor at 33.

31.    “Erickson analysis relies on cherry-picked subsidy statistics that focus on fossil energy

subsidies, belying the larger picture.” Expert Report of David G. Victor at 19.

32.    “Erickson has selectively targeted data and tailored his methods to inflate the beneficial

impacts of subsidy reform on U.S. consumption of fossil fuels, and associated reductions in

emissions contributions.” Expert Report of David G. Victor at 19.

33.    “The effect of oil subsidy reforms on emissions will be much smaller than suggested by

Erickson, because other factors have a much larger impact on production decisions, the industry

is highly competitive and responsive to changes in market conditions and production costs.”

Expert Report of David G. Victor at 19.

       Defendants’ Dispute Plaintiffs’ Injuries Can Be Redressed (ECF No. 255 at 23-28)

34.    “I conclude that there is considerable doubt as to whether Dr. Robertson’s proposed

agricultural methods can deliver the amount of GHG abatement that Dr. Robertson claims at any

price.” Expert Report of Dr. Daniel Sumner at 8.

35.    “Research, some of it conducted by Dr. Robertson himself in his academic role,

demonstrates that some of his proposed methods are not technically viable; that others are not

economically feasible; and that for others, an abatement amount cannot be reliably estimated.”

Expert Report of Dr. Daniel Sumner at 8.



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36.    “Moreover, USDA research indicates that, even after correcting for these issues, Dr.

Robertson’s conclusion as to the potential amount of abatement is implausibly large.” Expert

Report of Dr. Daniel Sumner at 8.

37.    “The low-carbon energy systems proposed by Plaintiffs’ experts, Professor Jacobson and

Professor Williams, are not technically feasible, and assume the existence of technologies that

are in development and are decades from commercial acceptance.” Expert Report of Dr. James

L. Sweeney at 9.

38.    “Neither Professor Jacobson nor Professor Williams provides a credible estimate of the

full costs of their respective proposals.” Expert Report of Dr. James L. Sweeney at 9.

39.    “Plaintiffs’ experts have not demonstrated that their approaches are realistic or likely to

succeed in practice.” Expert Report of Dr. James L. Sweeney at 9.

40.    “If the U.S. halted its use and production of fossil fuels, the prices of these fuels would

fall and other counties would increase their use of fossil fuels.” Expert Report of Dr. James L.

Sweeney at 13.

41.    “Only a very small fraction of these sources [of U.S. greenhouse gas emissions are]

directly controlled by the federal government.” Expert Report of Dr. James L. Sweeney at 56.

42.    “Many elements of the energy system transformations proposed by Professors Jacobson

and Williams are not technically feasible.” Expert Report of Dr. James L. Sweeney at 71.

43.    “Neither Professor Jacobson nor Professor Williams provides a credible estimate of the

full costs of their respective proposals.” Expert Report of Dr. James L. Sweeney at 72.

44.    “Even if technically feasible, the energy system transformations proposed by Professors

Jacobson and Williams are not economically viable.” Expert Report of Dr. James L. Sweeney at

72.
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45.    “Professor Jacobson’s and Professor Williams’ goals are unrealistic considering the scope

of the decisions that would need to be influenced and the government intervention required.”

Expert Report of Dr. James L. Sweeney at 92.

46.    “Many elements of the energy system transformations proposed by Professors Jacobson

and Williams are not technically feasible, would require significant investment by consumers or

businesses to invent, develop, and/or adopt new low-carbon energy technologies, would require

major consumer behavioral change, would involve significant costs borne by the government or

directly by energy users, and would require leaps in technology.” Expert Report of Dr. James L.

Sweeney at 101.

47.    “Jacobson’s proposed timelines for building, installing, and deploying the necessary

facilities and infrastructure to transition to his proposed energy system are unrealistic and likely

infeasible by failing to address myriad real-world considerations.” Expert Report of Howard J.

Herzog at 3.

48.    Dr. Jacobson “fails to evince that it is both technically and economically feasible to

transition from a predominantly fossil fuel-based energy system to a 100% clean, renewable

energy system for all energy sectors by 2050, with about 80% conversion by 2030.” Expert

Report of Howard J. Herzog at 4.

49.    “The timeline proposed by Jacobson to transform the United States energy system to

100% WWS is unsubstantiated and unrealistic.” Expert Report of Howard J. Herzog at 4.

50.    “Specifically, Jacobson’s proposed energy system would require large-scale development

of new energy infrastructure, including solar and wind farms in addition to transmission,

distribution, and storage infrastructure. Nowhere in his Expert Report does Jacobson address



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siting, design, permitting, or financing for the necessary facilities and infrastructure.” Expert

Report of Howard J. Herzog at 4.

51.    “Erickson oversimplifies the technical feasibility of the U.S. adopting a consumption-

based inventory and accounting system.” Expert Report of David G. Victor at 4.

52.    “Erickson’s Expert Report fails to note that even if the U.S. were to shift to a

consumption-based accounting system, such a shift would increase the share of global emissions

attributed to the U.S. by only about 1%.” Expert Report of David G. Victor at 4.

53.    “To implement consumption-based accounting in ways that actually influence the

activities contributing to emissions, a broader accounting of GHGs is necessary than that which

the current consumption-based accounting scheme can support.” Expert Report of David G.

Victor at 12.



DATED this 24th day of August, 2018.



                                                      Respectfully submitted,



                                                          s/ Julia A. Olson
                                                      Julia A. Olson, OR Bar 062230




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